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EXHIBIT B

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‘BIO (Official Form 10) (12/08)

UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE PROOF OF CLAIM

Naine of Debtor: Case Number:
NORTEL NETWORKS INC. 09-10138

NOTE: This form should not be used to make a claim for an administrative expense arising after the commencement of the case. A request of payment of an
adwninistrative expense may be filed pursuant to 11 U.S.C. § 503.

Name of Creditor (The person or other entity to whom the debtor owes money or property); . @ Check this box to indicate that this
Department of the Treasury - Internal Revenue Service claim amends a previously filed
Naine and address where notices should be sent: claim.
Internal Revenue Service Court Claim Number:
P.O. Box 21126 (Uf known)

Philadelphia. PA 19114

Filed on: 02/11/2009

Telephone number: 1-800-913-9358 Creditor Number:

Namic and address where payments should be sent (if different from above): OQ Check this box if you arc aware that
Internal Revenue Service anyone clse has filed a proof of claim
1352 MARROWS ROAD. STE 204 relating to your claim. Attach copy of
NEWARK, DE 19711-5445 Statement giving particulars.

OQ Check this box if you are the debtor

Telephone Number: (302) 286-1559 or trustec in this casc.

1, Amount of Claim as of Date Case Filed: $171,918.00 5. Amount of Claim Entitled to

Priority under 11 U.S.C, §507(a). If
any portion of your claim falls in
one of the following categories,
check the box and state the
amount.

If all or part of your claim is secured, complete item 4 below: however, if all of your claim is unsceured, do not complete
item 4,

If all or part of your claim is entitled to priority, complete item 5,

@ Check this box if claim includes interest or other charges in addition to the principal amount of claim, Attach Specify the priority of the claim.

itemized statement of interest or charges.
© Domestic support obligations under

2. Basis for Claim: Taxcs 1 U.S.C. §507(a)(1)(A) or (a)(1)(B).
(Sec instruction #2 on reverse side.)
3. Last four digits of any number by which creditor identifies debtor: Sce Attachment CO Wages, salarics, or commissions (up
to $10,950*) cared within 180 days
3a. Debtor may have scheduled account as: before filing of the bankruptcy

(Sce instruction #3a on reverse side.) petition or cessation of the debtor's

4. Secured Claim (Scc instruction #4 on reverse side.) USC S507 Gay is carer - 11
Check the appropriate box if your claim is secured by a lien on property or a right of sctoff and provide the ue .
. requested information. © Contributions to an cmployce bencfit
plan -11 U.S.C. §507 (a)(5).

Nature of property or right of setoff: OReal Estate Motor Vehicle O Other
Describe: 0 Up to $2,425* of deposits toward
purchase, case, or rental of property
Value of Property:$. Annual Interest Rate __% . or services for personal, family, or
a . houschold use - 11 U.S.C. §507
Amount of arrearage and other charges as of time case filed included in secured claim. (4)(7).
ifany: $ Basis for perfection: @ Taxes or penaltics owed to
. governmental units - 11 U.S.C. §507
Amount of Secured Claim: § Amount Uasecured: § (a)(8).
6. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim. C1 Other - Specify applicable paragraph
7. Documents: Attach redacted copic Filed: USBC - District of Delaware notes, OF 11 U.S.C, $507 (a)(_),
purchase orders, invoices. itemized st Nortel Networks Inc., Et Al. . and sccurity Amount entitled to priority:
agreements. You may also attach a su 09-10138 (KG } 0000001226 ce of
perfection ofa security interest. Yous ““redacted” on $ 35,000.00
reverse side.)
DO NOT SEND ORIGINAL DOCU IM | | | | ED AFTER *Amouuts are subject to adjustment on
SCANNING. 4/1/10 and every 3 years thereafter with
. respect to cases commenced on or after
If the documents are not available, please explain: the date of adjustment.

. Signature: The person filing this claim must sign it. Sign and print name and title, if any, of the FOR COURT USE ONLY
Date: 05/20/2009 | creditor ot other person authorized to file this claim and state address and telephone number if
different from the notice address above. Attach copy of power of attomcy, if any.

si M. JAMES, , Internal Revenue Service
REVENUE OFFICER/ADVISOR 1352 MARROWS ROAD, STE 204
(302) 286-1559 NEWARK, DE 19711-5445

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Penalty for presenting fraudulent claim: Fine of up to $500,000 ot imprisonment for up to 5 ycars, or both. 18 U.S.C §§ 192 ahd 3571.

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TBE Cel?
Proof of Claim for Form 10
Attachment
Internal Revenue Taxes
Department of the Treasury/Internal Revenue Service Case Number
In the Matter of: NORTEL NETWORKS INC. 09-10138
RICHARDSON, TX 75082 CHAPTER 1]
Date of Petition
01/14/2009
Amendment No. | to Proof of Claim dated 02/11/2009.

The United States has not identified a right of setoff or counterclaim. However, this determination is based on available data and is not
intended to waive any right to setoff against this claim debts owed to this debtor by this or any other federal agency. All rights of setoff
are preserved and will be asserted to the extent lawful.

Unsecured Priority Claims under scction 507(a)(8) of the Bankruptcy Code

Taxpayer Interest to
ID Number Kind of Tax Tax Period Date Tax Assessed Tax Due Petition Date
XX-XXX6332_  CORP-INC 12/31/1998 ? Pending Examination $5,000.00 $0.00
XX-XXX6332_  CORP-INC 12/31/2001 7 Pending Examination $5,000.00 $0.00
XX-XXX6332_ CORP-INC 12/31/2002 ? Pending Examination $5,000.00 $0.00
XX-XXX6332_  CORP-INC 12/34/2003 ? Pending Examination $5,000.00 $0.00
XX-XXX6332 CORP-INC 12/31/2004 7 Pending Examination $5,000.00 $0.00
XX-XXX6332_  CORP-INC 12/31/2005 1 Pending Examination $5,000.00 $0.00
XX-XXX6332 CORP-INC 12/3 1/2007 7 Pending Examination "$5,000.00 ‘ $0.00
XX-XXX6332 EXCISE 09/30/2008 2  Unassesscd-No Return $0.00 $0.00
XX-XXX6332 0 WT-FICA 12/31/2008 2  Unassessed-No Return $0.00 $0.00
XX-XXX6332. 0 EXCISE 12/31/2008 2 Unassessed-No Retum $0.00 $0.00
XX-XXX6332 FUTA 12/3 1/2008 2 Unassessed-No Retum $0.00 $0.00
XX-XXX6332. WH FED INC 12/31/2008 2 Unassessed-No Retum $0.00 $0.00
XX-XXX6332 EXCISE 03/31/2009 3 Unassessed Liability $0.00 $0.00
$35,000.00 $0.00
Total Amount of Unsecured Priority Claims: < — ».$35,000.00

Unsecured General Claims

Taxpaver Interest to
1D Number Kind of Tax Tax Period Date Tax Assessed Tax Due Petition Date
XX-XXX6332 CORP-INC 12/31/1999 7 Pending Examination $5,000.00 $0.00
XX-XXX6332 CORP-INC (2/31/2000 1 Pending Examination $5,000.00 $0.00
$10,000.00 30.00
Penalty to date of petition on unsecured priority claims (including interest thereon) ...... $126,918.00
Total Amount of Unsecured General Claims: $136,918.00

VPROPUSED TAX DEFICIENCY DETERMINED BY EXAMINATION OF DEBTURIS} TAX RETURN.

2 UNASSESSED TAN LIABILITY(IES) HAVE BEEN LISTED ON THIS CLAIM MIECAUSE OUR RECORDS SHUW NU RETURN(S) FILED. WHEN THE DEOTOR(S) FILES THE RETURN ‘OR PROVIDES OTHER INFORMATION
AS REQUIRED BY LAW THE CLAIM WILL DE AMENDED

ATHE AHOVE LIAHILITY HAS BEEN LISTED AS A POTENTIAL LIAGILTITY FOR THE DEBTOR DUE TQ. DEBTOR'S FAILURE TO MAKE REQUIRED TAX DEPOSITS. AS SOON THE DERTOR FILES THE RETURN
v Ee AS REQUIRED BY LAW THIS CLAIM WI rs ED ECESSARY"

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